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 PROB 35                  Report and Order Terminating Probation/Supervised Release
(Rev. 6/17)                              Prior to Original Expiration Date



                                         United States District Court
                                                  FOR THE
                                     SOUTHERN DISTRICT OF GEORGIA
                                               WAYCROSS DIVISION




              UNITED STATES OF AMERICA

                             V.                             V    Crim.No. 5:97CR00003-29

                      James Taylor


         On October 10,2008, the above named was placed on supervised release for a period often years. He
has complied with the rules and regulations ofsupervised release and is no longer in need of supervision. It is
accordingly recommended that he be discharged from supervision.

                                                                Respectfully submitted.



                                                                     'Dixon
                                                                U.S. Probation Officer



                                            ORDER OF THE COURT


         Pursuant to the above report, it is ordered that the defendant is discharged from supervision and that the
proceedings in the case be terminated.

         Dated this                   day of January, 2018.



                                                            William T. Moore, Jr.
                                                            Judge, U.S. District Court

                      U. S. DISTRICT COURT
                       Southern District of GA
                             Filed in Office
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